                            UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF IOWA


In re                                     )
                                          )
MCQUILLEN PLACE COMPANY, LLC, an          )         Case No. 19-00507
Iowa limited liability company,           )         Chapter 7
                                          )
               Debtor.                    )
                                          )
                                          )
                  NOTICE OF APPEAL AND STATEMENT OF ELECTION

Part 1:          Identify the appellant(s)

1.        Name(s) of appellant(s):     Cornice & Rose International, Inc.

2.      Position of appellant(s) in the adversary proceeding or bankruptcy case that is the subject
of this appeal:

For appeals in an adversary proceeding.
  Plaintiff
  Defendant
  Other (describe) ________________________

For appeals in a bankruptcy case and not in an adversary proceeding.
  Debtor
x Creditor
  Trustee
  Other (describe) ________________________

Part 2:                 Identify the subject of this appeal

1.        Describe the judgment, order, or decree appealed from:

“Order Authorizing Approving Sale Pursuant to Section 363 of the Bankruptcy Code and
Providing Related Relief (Related Doc # 134) Dated and Entered on 4/9/2020. (tsta) (Entered:
04/09/2020)” (Docket #154)

“Proceeding Memo and Order. (related document(s)155 Motion to Reconsider, 156 Motion to
Reconsider, 157 Motion, 158 Motion To Stay) (jmei) (Entered: 05/15/2020)” (Docket #180)


2.     State the date on which the judgment, order, or decree was entered: April 9, 2020 and May
15, 2020


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Part 3:         Identify the other parties to the appeal

List the names of all parties to the judgment, order, or decree appealed from and the names,
addresses, and telephone numbers of their attorneys (attach additional pages if necessary):

1. Party: Charles L. Smith, Trustee          Attorney:     Telpner Peterson Law Firm, LLP
                                                           25 Main Place, Suite 200
                                                           Council Bluffs, IA 51503
                                                           Telephone: (712) 325-9000

2. Party: First Security Bank & Trust Co.    Attorney:     Larry S. Eide, Esq.
                                                           Pappajohn, Shriver, Eide
                                                                  & Nielsen PC
                                                           103 E State St # 800
                                                           Mason City, IA 50401
                                                           Telephone: (641) 423-4264

                                                           Randy Nielsen, Esq.
                                                           Pappajohn, Shriver, Eide
                                                                  & Nielsen PC
                                                           103 E State St # 800
                                                           Mason City, IA 50401
                                                           Telephone: (641) 423-4264

                                                           Eric Lam, Esq.
                                                           Simmons Perrine Moyer
                                                                  Bergman PLC
                                                           115 3rd Street SE, Suite 1200
                                                           Cedar Rapids, Iowa 52401-1266
                                                           Telephone: (319) 896-4018

                                                           Eric Langston, Esq.
                                                           Simmons Perrine Moyer
                                                                  Bergman PLC
                                                           115 3rd Street SE, Suite 1200
                                                           Cedar Rapids, Iowa 52401-1266
                                                           Telephone: (319) 896-4018

3.        Party: Four Keys, LLC              Attorney:     Eric Lam, Esq.
                                                           Simmons Perrine Moyer
                                                                  Bergman PLC
                                                           115 3rd Street SE, Suite 1200
                                                           Cedar Rapids, Iowa 52401-1266
                                                           Telephone: (319) 896-4018



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                                                            Eric Langston, Esq.
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4.     Party: Charles M. Thomson             Attorney:      Charles M. Thomson, Esq.
                                                            Law Office of Charles M. Thomson
                                                            1110 N. Grand Ave., Suite 300
                                                            Charles City, Iowa 50616
                                                            Telephone: (847) 456-1911

5.     Party: James Gray                     Attorney:      Charles M. Thomson, Esq.
                                                            Law Office of Charles M. Thomson
                                                            1110 N. Grand Ave., Suite 300
                                                            Charles City, Iowa 50616
                                                            Telephone: (847) 456-1911

6.     Party: City of Charles City, IA       Attorney:      Monica Clark, Esq.
                                                            Dorsey & Whitney, LLP
                                                            50 South Sixth Street, Suite 1500
                                                            Minneapolis, MN 55402-1498
                                                            Telephone: (612) 340-2600


Part 4:          Optional election to have appeal heard by District Court (applicable only in
certain districts)

If a Bankruptcy Appellate Panel is available in this judicial district, the Bankruptcy Appellate
Panel will hear this appeal unless, pursuant to 28 U.S.C. § 158(c)(1), a party elects to have the
appeal heard by the United States District Court. If an appellant filing this notice wishes to have
the appeal heard by the United States District Court, check below. Do not check the box if the
appellant wishes the Bankruptcy Appellate Panel to hear the appeal.
          Appellant(s) elect to have the appeal heard by the United States District Court
       rather than by the Bankruptcy Appellate Panel.

Appellant hereby reserves its right to elect under 28 U.S.C. §158(c)(1) at any time prior to the
expiration of the

Part 5: Sign below


/s/ Bradley R. Kruse                                 Date: May 29, 2020
Signature of attorney for appellant(s)



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Name, address, and telephone number of attorney

Bradley R. Kruse
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